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              NOT YET SCHEDULED FOR ORAL ARGUMENT

                               No. 23-7173

           In the United States Court of Appeals
            for the District of Columbia Circuit

                           DAVID O’CONNELL,
                                       Plaintiff - Appellee

                                     V.


          UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
                                  Defendant - Appellant


             On Appeal from the United States District Court
          for the District of Columbia (No. 20-cv-1365) (Cobb, J.)


DEFENDANT-APPELLANT’S MOTION FOR LEAVE TO REPLY IN
      SUPPORT OF JURISDICTIONAL STATEMENT




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                                    MOTION

   Defendant-Appellant United States Conference of Catholic Bishops

(“USCCB”) respectfully requests that this Court grant leave to file a reply

brief in support of jurisdiction within 21 days of its order on this motion. In

support, USCCB states as follows:

   1.    Plaintiff-Appellee David O’Connell admits his claims involve religious

         communications made from the pulpit about religious giving to, and
         religious spending by, the Holy See. Resp. 1-2. And O’Connell does

         not deny that his Complaint seeks discovery at every level of the ec-

         clesiastical hierarchy, from the local parish to Rome itself. O’Connell
         identifies no federal court that has ever undertaken such pervasive

         entanglement into the religious governance, doctrine, and polity of

         the Catholic Church. At a minimum, then, his claims present novel
         and complex First Amendment issues requiring careful considera-

         tion. USCCB Br. at 13-20; Watson v. Jones, 80 U.S. (13 Wall.) 679,

         727-28 (1871) (protections for religious autonomy “lie[] at the founda-
         tion of our political principles” regarding “the relations of church and

         state”); Fowler v. State of R.I., 345 U.S. 67, 70 (1953) (it is not “in the

         competence of courts under our constitutional scheme to … regulate
         ... or in any manner control sermons delivered at religious meet-

         ings.”).



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  2.   Accordingly, when the district court orally denied USCCB’s First

       Amendment defenses, USCCB filed this appeal on December 22,

       2023, and on January 22, 2024, filed its memorandum explaining that

       this Court has jurisdiction over the appeal.

  3.   On February 15, O’Connell moved for leave to file a response within

       21 days of his motion being granted. USCCB did not oppose the re-

       quest and this Court granted leave on February 28, 2024. O’Connell
       filed his response on March 20, 2024.

  4.   O’Connell’s response raises several matters that would benefit from

       clarification or correction. For instance, he does not dispute that his
       claims will require intrusive discovery into church communications,

       finances, and polity, and that this Court has recognized such discov-

       ery can violate the First Amendment. USCCB Br. 15-21. Further,
       O’Connell cites no cases like his, and conspicuously fails to mention

       that the merits opinion of the closest comparator was recently va-

       cated and set for en banc rehearing. See Huntsman v. Corp. of the
       President of the Church of Jesus Christ of Latter-Day Saints, 76

       F.4th 962 (9th Cir. 2023), reh’g en banc granted, opinion vacated sub

       nom., 94 F.4th 781 (9th Cir. 2024). And while O’Connell warns that

       hearing USCCB’s appeal will open floodgates, Resp. 15-17, he (cor-

       rectly) does not argue that this Court has been deluged by allowing

       interlocutory appeal of other First Amendment rights, or that D.C.

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         courts have been in the three decades since United Methodist Church

         v. White, 571 A.2d 790 (D.C. 1990).

    5.   Accordingly, unless this Court plans to order the parties to proceed

         to merits briefing and argument to allow full consideration of the is-

         sues, USCCB respectfully requests leave to file a reply to O’Connell’s

         response.1

    For the foregoing reasons, USCCB respectfully requests leave to file a re-
ply brief within 21 days of the Court’s order on this motion.

                                       Respectfully submitted,

                                          /s/Emmet T. Flood
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March 28, 2024




1
 See, e.g., Abdelhady v. George Washington Univ., No. 22-7148 (D.C. Cir. Feb.
21, 2023) (order referring jurisdictional questions to merits panel); accord
Belya v. Kapral, No. 21-1498 (2d Cir. Nov. 3, 2021), ECF 138 (same); Tucker
v. Faith Bible Chapel Int’l, No. 20-1230 (10th Cir. July 16, 2020) (same).
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                     CERTIFICATE OF COMPLIANCE

   I hereby certify that:

      1.    This motion complies with the requirements of Fed. R. App. P.

27(d)(2)(A) and Circuit Rule 27(a)(2) because it has 555 words.

      2.    This motion complies with the typeface and type-style requirements

of Fed. R. App. P. 32(a)(5), (6) because this motion has been prepared in a pro-

portionally spaced typeface using Microsoft Word in 14-point font.

                                            /s/ Emmet T. Flood
                                            EMMET T. FLOOD




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                        CERTIFICATE OF SERVICE

   I certify that on March 28, 2024, a copy of the foregoing was filed with the

Clerk of the Court’s electronic filing system, which is designed to serve all coun-

sel of record.


                                            /s/ Emmet T. Flood
                                            EMMET T. FLOOD




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